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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                            Criminal No. 06-CR00008 (RHK)

UNITED STATES OF AMERICA,                 )
                                          )
                      Plaintiff,          )
                                          )   ORDER
               v.                         )
                                          )
MICHELLE LOIS BOHLKE,                     )
                                          )
                      Defendant.          )


         The Defendant’s Motion for Extension of Time is GRANTED.          The Court

ORDERS as follows:

         Objections to the Presentence Report are due to the Probation Office on

September 27, 2006, and Position Pleadings shall be filed with the Clerk of Court by

October 4, 2006.



Dated:      9/14/06



                                                 s/Richard H. Kyle
                                                 United States District Court Judge
                                                 Honorable Richard H. Kyle
